    Case 20-30225-hdh7         Doc 21     Filed 05/11/20 Entered 05/11/20 12:08:42             Desc Main
                                         Document      Page 1 of 3




The following constitutes the ruling of the court and has the force and effect therein described.



Signed May 11, 2020
                                            United States Bankruptcy Judge
  ______________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

     IN RE                                          §
                                                    §
     EVEREADY SERVICES, INC                         §      Case No. 20-30225
                                                    §
     DEBTOR                                         §

                              AMENDED ORDER AUTHORIZING
                          DEBTOR TO SELL PROPERTY OF THE ESTATE


             This matter having come before this Court on the Emergency Motion to Sell Property of the

     Estate (the"Motion"), pursuant to 11 U.S.C. §§363(b) and (f), and Rule 6004 of the Federal Rules

     of Bankruptcy Procedure, filed by Eveready Services, Inc., Debtor and Debtor-in-Possession

     ("Debtor"); the Court finds that it has jurisdiction of this matter pursuant to 28 U.S.C. §§157 and

     1334; the Court finds that this is a core proceeding pursuant to 28 U.S.C. §157(b)(2); the Court finds


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     O R DER A U TH O R IZIN G D EBTOR TO S ELL P R O PER TY O F TH E E STATE - Page 1 of 3
Case 20-30225-hdh7         Doc 21     Filed 05/11/20 Entered 05/11/20 12:08:42               Desc Main
                                     Document      Page 2 of 3



that the Debtor has shown good, sufficient and sound business purpose and justification for the relief

requested in the Motion; the Court finds that the relief requested in the Motion is in the best interests

of the Debtor, its estate and the creditors thereof; the Court finds that proper and adequate notice of

the Motion and the hearing thereon has been given and that no other or further notice is necessary;

the Court finds that no creditor has filed an objection that has not been resolved to the Motion; and

the Court finds that, upon the record herein after due deliberation thereon, hereby makes the

following Findings of Fact and Conclusions of Law:

I.      FINDINGS OF FACT AND CONCLUSIONS OF LAW

        IT IS HEREBY FOUND AND DETERMINED THAT:

        1.      The Debtor various assets which including but not limited to racking and related
                moving equipment, accounts receivable, trucks, and its list of customers as set forth
                in the Motion and the Asset Purchase Agreement (“APA”) attached hereto as Exhibit
                “A” and incorporated herein by reference for all purposes (Assets) which the Debtor
                seeks to sell.

        2.      A reasonable opportunity to object or be heard regarding the Motion has been
                afforded to all interested persons and entities, including those claiming an interest in
                the Assets.

        3.      The Debtor has determined in the exercise of their reasonable business judgment to
                sell the Assets.

        4.      The Debtor has demonstrated good, sufficient and sound business reasons and
                justification for the sale of the Assets as requested in the Motion.

        5.      The sale of the Assets, under Section 363(b) and (f) of the Bankruptcy Code for
                consideration noted in the Motion is in the best interests of the Debtor, their estate
                and their creditors.

        6.      The offer made by CSMC LLC (the “Purchaser”) for the Assets, to the estate for the
                purchase of the Assets pursuant to Section 363 of the Bankruptcy Code constitutes
                the highest and best offer received by the Debtor for their interests in the Assets.

        7.      The consideration to be paid constitutes adequate and fair value for the Assets.


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O R DER A U TH O R IZIN G D EBTOR TO S ELL P R O PER TY O F TH E E STATE - Page 2 of 3
Case 20-30225-hdh7        Doc 21     Filed 05/11/20 Entered 05/11/20 12:08:42              Desc Main
                                    Document      Page 3 of 3



       8.      The sale of the Assets was negotiated and entered into in good faith and from arm's-
               length positions between the Debtor and the Purchaser.

       9.      The Purchaser of the Property is a good faith purchaser as that term is used in Section
               363(m) of the Bankruptcy Code.

II.    ORDERS OF THE COURT:

       Based on the foregoing Findings of Fact and Conclusions of Law, it is hereby,

       ORDERED that the Motion is granted. It is further,

       ORDERED that, pursuant to Section 363 of the Bankruptcy Code, and subject to the terms

and conditions set out in this Order, the Debtor is authorized to sell the Assets free and clear of all

liens, interests, claims and encumbrances, except for the liens that secure 2020 ad valorem taxes

which shall remain attached to the Assets, to the Purchaser in exchange for the consideration of

$90,000, It is further,

       ORDERED that the parties are authorized and directed to take all actions, including the

execution of documents, necessary or appropriate to effect the sale of the Assets. It is further,

       ORDERED that, at Closing all proceeds shall be paid to Debtor to be held in the Debtor-in-

possession account subject to further Order of this Court. It is further,

       ORDERED that the Purchaser is afforded the protections of a good faith purchaser under

Section 363(m) of the Bankruptcy Code. It is further,

       ORDERED that all entities, governmental or otherwise, shall accept and honor the sale of

the Assets, in accordance herein and the Bankruptcy Code. It is further,

       ORDERED that this sale is final and shall be effective and enforceable immediately upon

entry and shall not be stayed pursuant to Bankruptcy Rule 6004(g).

                                     ### END OF ORDER ###


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O R DER A U TH O R IZIN G D EBTOR TO S ELL P R O PER TY O F TH E E STATE - Page 3 of 3
